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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ELBERT D. SMITH, II,                              §
                PLAINTIFFS,                       §
                                                  §
V.                                                §       CASE NO. 3:19-CV-2892-K-BK
                                                  §
CITY OF DALLAS, TEXAS,                            §
                DEFENDANT.                        §

                                              ORDER
        On December 9, 2019, Plaintiff filed this action and paid the $400.00 filing fee. Having

paid the filing fee, Plaintiff is responsible for obtaining summonses and effecting service of

process on Defendant as required by Rule 4 of the Federal Rules of Civil Procedure. Based on

the filing date, Defendant should have been served by March 9, 2020. As of the date of this

order, however, no return of service has been filed.

        If a defendant is not served within 90 days after the complaint is filed, the court --
        on motion or on its own after notice to the plaintiff -- must dismiss the action
        without prejudice against that defendant or order that service be made within a
        specified time. But if the plaintiff shows good cause for the failure, the court must
        extend the time for service for an appropriate period.

FED. R. CIV. P. 4(m). In the interest of justice, the Court will extend the deadline for

effectuating service to April 24, 2020. Plaintiff is placed on notice that this case may be

dismissed under Rule 4(m) without further notice unless he completes service of process on

Defendant or shows good cause for the failure to do so by that date.

        Additionally, Plaintiff was previously advised of his obligation to register as a user of the

Court’s electronic filing system, as required by Local Civil Rule within 14 days of filing this
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lawsuit. Doc. 2 at 1. However, a review of the docket sheet reveals that Plaintiff has not done

so. Thus, in the interest of justice, the Court will extend the deadline. Accordingly, Plaintiff is

ORDERED to register to use the Court’s electronic filing system no later than April 24,

2020. Instructions for registering as a pro se litigant may be found online at https:// ecf.txnd.

uscourts.gov/AttorneyReg. Again, Plaintiff’s failure to comply or show good cause to be

exempt from this requirement by that deadline may result in the dismissal of this case without

further notice under Federal Rule of Civil Procedure 41(b).

       SO ORDERED on April 3, 2020.
